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Avon Place Tenant Union
June 10, 2025

Hon. Jil Mazer-Marino
U.S. Bankruptcy Court, EDNY
Conrad B. Duberstein Courthouse
271-C Cadman Plaza East - Suite 1595
Brooklyn, NY 11201-1800

Re: Case No. 1-25-41368 (JMM) — Avon Place LLC

Your Honor,

We are writing on behalf of the Avon Place Tenant Union to provide an update on the living
conditions at our property following the most recent hearing at the end of May. At that hearing,
we appreciated the Court’s acknowledgment of the letters submitted by tenants and the remarks
from the lender and newly appointed CRO, Mr. Goldwasser, who emphasized that tenant voices
would be taken seriously and that outreach and repairs would be prioritized.

Unfortunately, to date, no one who submitted letters has been contacted for follow-up, despite
explicit statements in court that phone or in-person meetings would be conducted with letter-
writers. Moreover, many of the issues raised before the hearing remain unresolved, and new ones
have developed.

Ongoing, Unresolved Problems (Previously Raised in Letters)
- Broken street lights remain a major safety issue, leaving large areas of the property unlit at
night.
- Missing stairwell bannisters continue to pose a fall risk for elderly tenants.
- Broken air conditioning during the summer in individual units and in hallways.
- No yearly maintenance on HVAC units.
- Windows that won’t open.
- Potholes and road conditions have worsened due to recent work that involved cutting and
patching pavement, creating bumps and tripping hazards.
- The playground remains inadequately maintained, with insufficient wood chips and other
hazards.
- Maintenance requests inside apartments continue to go unanswered, with recurring issues like:
       - Persistent plumbing problems
       - Mold growth
       - Bug infestations
       - A sewage problem in several units that reappears every year without a lasting fix
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- Several tenants have reported broken or outdated appliances that were promised to be replaced
when they moved in—but still have not been.

New Developments Since the Hearing
- A front door handle fell off one of the main entry doors for building 47, leaving exposed
screws.
- Rent disparities have come to light: long-term tenants are now paying significantly more than
new tenants—sometimes over $400 more per month—for smaller apartments. For example, one
long-term tenant pays more for a two-bedroom unit than a new tenant pays for a three-bedroom
unit.
- Vacancy rates have climbed to an estimated 30% in some buildings, despite the property being
at or near full capacity when the current owner purchased it.


We understand that the lender is concerned about protecting the property’s value. So are we. But
it is clear to us that the value is decreasing, not only due to deferred maintenance and reduced
rents, but because management has not followed through on the commitments made in court. It is
not enough to acknowledge tenant concerns in theory—meaningful engagement and timely
repairs are essential.

We respectfully ask the Court to ensure that the promised inspections, tenant communications,
and safety repairs are actually carried out. Tenants at Avon Place want to live in a safe and
functional home, and we are still waiting for the accountability and responsiveness that was
pledged.

Thank you for your continued attention to this matter.

Sincerely,
The Avon Place Tenant Union
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Note from the Avon Place Tenant Union:
The signatures attached to this letter represent only the individuals we were able to reach and
collect responses from within a four-day period. This list is not exhaustive. Many more tenants
share these concerns, and this letter reflects the broader voice of our union. This explanatory note
was not included in the signed version and is provided here solely for clarification.
